   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 1 of 33 PageID #:73




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

AIMEN HALIM, individually and on behalf of all
others similarly situated,
                                                      Case No.
              Plaintiff,                              1:23-cv-01495
              vs.

BUFFALO WILD WINGS, INC. and INSPIRE
BRANDS, INC.,

              Defendants.

  _________________________________________________________________________

 BUFFALO WILD WINGS, INC. AND INSPIRE BRANDS, INC.’S BRIEF IN SUPPORT
       OF MOTION TO DISMISS AMENDED CLASS ACTION COMPLAINT
______________________________________________________________________________

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       Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 2 of 33 PageID #:74




                                                   TABLE OF CONTENTS

                                                                                                                                      Page(s)

INTRODUCTION......................................................................................................................... 1

BACKGROUND ........................................................................................................................... 2

PROCEDURAL BACKGROUND .............................................................................................. 4

LEGAL STANDARD ................................................................................................................... 5

ARGUMENT AND CITATION TO AUTHORITY ................................................................. 5

I.        The Complaint Should Be Dismissed in its Entirety Because Plaintiff Cannot
          Establish Concrete Economic Harm Sufficient to Confer Article III Standing.......... 6

          A.         Plaintiff Fails to Show He Received Anything But the Benefit of His
                     Bargain: Boneless Wings that Are Less Expensive than Traditional Wings ......... 7

          B.         Plaintiff’s Threadbare Allegations of a Price Premium Cannot Confer
                     Standing .................................................................................................................. 9

II.       The Complaint Should Be Dismissed in its Entirety Because Plaintiff Does
          Not—And Cannot—Plausibly Claim that “Boneless Wings” Mislead
          Reasonable Consumers................................................................................................... 11

          A.         The Reasonable Consumer Standard .................................................................... 12

          B.         Reasonable Consumers Are Not Misled by BWW’s “Boneless Wings” ............. 13

III.      Plaintiff’s Claims Fail for Multiple, Independent Reasons......................................... 18

          A.         Plaintiff’s Nationwide Unjust Enrichment Class Should Be Dismissed on
                     Article III Standing and Rule 23 Grounds ............................................................ 18

          B.         Plaintiff’s Unjust Enrichment Claim Should Be Dismissed as Duplicative
                     of Plaintiff’s Other Claims .................................................................................... 20

          C.         Plaintiff Lacks Standing to Pursue Injunctive Relief Because There Is No
                     Risk He Will Again Be “Deceived”...................................................................... 21

          D.         Inspire Should Be Dismissed under Rules 12(b)(2) and 12(b)(6) Because
                     the Complaint Contains No Factual Allegations About It .................................... 22

CONCLUSION ........................................................................................................................... 23




                                                                       i
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 3 of 33 PageID #:75




                                                    TABLE OF AUTHORITIES

                                                                                                                                            Page(s)
CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ............................................................................................................................... 5

Ass’n Benefit Servs. v. Caremark Rx, Inc.,
    493 F.3d 841 (7th Cir. 2007) ................................................................................................................ 21

Axon v. Citrus World, Inc.,
   No. 18-cv-04162, 2019 WL 8223527 (E.D.N.Y. Jan. 14, 2019).......................................................... 14

Bakhtiari v. Doe,
   No. 22-cv-2406, 2022 WL 17593027 (N.D. Ill. Dec. 13, 2022) .......................................................... 23

Bank of Am., N.A. v. Knight,
   725 F.3d 815 (7th Cir. 2013) ................................................................................................................ 23

Beardsall v. CVS Pharm., Inc.,
   953 F.3d 969 (7th Cir. 2020) ................................................................................................................ 12

Becerra v. Dr Pepper/Seven Up, Inc.,
   945 F.3d 1225 (9th Cir. 2019) ....................................................................................................... 13, 14

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ............................................................................................................................... 5

Bell v. Publix Super Mkts., Inc.,
    982 F.3d 468 (7th Cir. 2020) ................................................................................................................ 12

Benson v. Fannie May Confections Brands, Inc.,
   944 F.3d 639 (7th Cir. 2019) ............................................................................................................ 5, 12

Bober v. Glaxo Wellcome PLC,
   246 F.3d 934 (7th Cir. 2001) ................................................................................................................ 21

Branham v. TrueAccord Corp.,
   No. 22-cv-00531, 2023 WL 2664010 (N.D. Ill. Mar. 28, 2023) ............................................................ 6

Brodksy v. Aldi Inc.,
   No. 20-cv-07632, 2021 WL 4439304 (N.D. Ill. Sept. 28, 2021).......................................................... 12

Brook v. McCormley,
   873 F.3d 549 (7th Cir. 2017) .................................................................................................................. 5

Brown v. Auto-Owners Ins. Co.,
   No. 21-cv-02597, 2022 WL 2442548 (N.D. Ill. June 1, 2022) ............................................................ 19




                                                                           ii
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 4 of 33 PageID #:76



Camasta v. Jos. A. Bank, Clothiers, Inc.,
   2013 WL 474509 (N.D. Ill. Feb. 7, 2013) ............................................................................................ 10

Camasta v. Jos. A. Bank Clothiers, Inc.,
   761 F.3d 732 (7th Cir. 2014) .......................................................................................................... 21, 22

Camasta v. Ohio Steaks Int’l, Inc.,
   No. 12-cv-08285, 2013 WL 4495661 (N.D. Ill. Aug. 21, 2013) ......................................................... 10

Chen v. Dunkin’ Brands, Inc.,
   954 F.3d 492 (2d Cir. 2019) ........................................................................................................... 13, 16

Chiappetta v. Kellogg Sales Co.,
   No. 21-cv-03545, 2022 WL 602505 (N.D. Ill. Mar. 1, 2022) ....................................................... passim

Colella v. Atkins Nutritionals, Inc.,
   348 F. Supp. 3d 120 (E.D.N.Y. 2018) .................................................................................................. 10

Conrad v. Boiron, Inc.,
   869 F.3d 536 (7th Cir. 2017) ................................................................................................................ 22

Cowen v. Lenny & Larry’s, Inc.,
   No. 17-cv-1530, 2017 WL 4572201 (N.D. Ill. Oct. 12, 2017) ............................................................. 19

Cristia v. Trader Joe’s Co.,
    No. 22-cv-1788, 2022 WL 17551552 (N.D. Ill. Dec. 9, 2022) ............................................................ 22

Curry v. Revolution Labs., LLC,
   No. 17-cv-2283, 2020 WL 1548504 (N.D. Ill. Apr. 1, 2020) .............................................................. 23

Davis v. Bank of Am. Corp.,
   No. 16-cv-5993, 2017 WL 569159 (N.D. Ill. Feb. 13, 2017) ............................................................... 23

Dumas v. Diageo PLC,
   No. 15-cv-1681, 2016 WL 1367511 (S.D. Cal. Apr. 6, 2016) ............................................................. 18

Ebner v. Fresh, Inc.,
   838 F.3d 958 (9th Cir. 2016) .................................................................................................... 12, 13, 14

Floyd v. Pepperidge Farm, Inc.,
    581 F. Supp. 3d 1101 (S.D. Ill. 2022) ................................................................................................. 22

Fullerton v. Corelle Brands, LLC,
    No. 18-cv-4152, 2019 WL 4750039 (N.D. Ill. Sep. 30, 2019) ....................................................... 19, 20

Geske v. PNY Techs., Inc.,
   503 F. Supp. 3d 687 (N.D. Ill. 2020) ...................................................................................................... 6

Gordon v. Chipotle Mexican Grill, Inc.,
   344 F. Supp. 3d 1231 (D. Colo. 2018) ................................................................................................... 8




                                                                       iii
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 5 of 33 PageID #:77



Haggerty v. Bluetriton Brands, Inc.,
   No. 21-13904, 2022 WL 17733677 (D.N.J. Dec. 16, 2022) .................................................. 6, 9, 10, 11

Harris v. Rust-Oleum Corp.,
   No. 21-cv-01376, 2022 WL 952743 (N.D. Ill. Mar. 30, 2022) ...................................................... 19, 20

Horist v. Sudler & Co.,
   941 F.3d 274 (7th Cir. 2019) ................................................................................................................ 21

Ibarrola v. Kind, LLC,
    83 F. Supp. 3d 751 (N.D. Ill. 2015) ...................................................................................................... 21

In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig.,
    No. 09-cv-3690, 2013 WL 4506000 (N.D. Ill. Aug. 23, 2013) ...................................................... 19, 20

In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices & Liab. Litig.,
    903 F.3d 278 (3d Cir. 2018) ................................................................................................................... 9

In re Sears, Roebuck & Co. Tools Mktg. & Sales Practices Litig.,
    No. 05-cv-2623, 2006 WL 3754823 (N.D. Ill. Dec. 18, 2006) ............................................................ 20

In re Subway Footlong Sandwich Mktg. & Sales Practices Litig.,
    869 F.3d 551 (7th Cir. 2017) ............................................................................................................ 1, 17

Izquierdo v. Mondelez Int’l, Inc.,
    No. 16-cv-04697, 2016 WL 6459832 (S.D.N.Y. Oct. 26, 2016) ..................................................... 9, 10

Jackson v. Anheuser-Busch InBev SA/NV, LLC,
    No. 20-cv-23392, 2021 WL 3666312 (S.D. Fla. Aug. 18, 2021) ......................................................... 14

Jessani v. Monini N.A., Inc.,
    744 F. App’x 18 (2d Cir. 2018) ............................................................................................................ 16

Khoday v. Symantec Corp.,
   93 F. Supp. 3d 1067 (D. Minn. 2015), as amended (Apr. 15, 2015) .................................................... 20

Kim v. Carter’s Inc.,
   598 F.3d 362 (7th Cir. 2010) .............................................................................................................. 7, 8

Kunz v. Liebovich Bros.,
   No. 15-cv-50279, 2016 WL 3093045 (N.D. Ill. May 31, 2016) .......................................................... 23

Lujan v. Defenders of Wildlife,
    504 U.S. 555 (1992) ............................................................................................................................... 6

Matlin v. Spin Master Corp.,
   921 F.3d 701 (7th Cir. 2019) .................................................................................................................. 5

McGee v. S-L Snacks Nat’l,
  982 F.3d 700 (9th Cir. 2020) .......................................................................................................... 6, 8, 9




                                                                          iv
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 6 of 33 PageID #:78



Moore v. Trader Joe’s Co.,
   4 F.4th 874 (9th Cir. 2021) ....................................................................................................... 13, 16, 17

Muir v. Nature’s Bounty, Inc.,
   No. 15-cv-9835, 2017 WL 4310650 (N.D. Ill. Sep. 28, 2017) ............................................................. 20

Parent v. MillerCoors LLC,
   No. 3:15-cv-1204-GPC-WVG, 2015 WL 6455752 (S.D. Cal. Oct. 26, 2015)..................................... 15

Pelayo v. Nestlé USA, Inc.,
    989 F. Supp. 2d 973 (C.D. Cal. 2013) ............................................................................................ 13, 17

Rapp v. Green Tree Servicing, LLC,
   302 F.R.D. 505 (D. Minn. 2014) .......................................................................................................... 19

Reinitz v. Kellogg Sales Co.,
    No. 21-cv-01239, 2022 WL 181391 (C.D. Ill. June 2, 2022)................................................... 12, 13, 14

Richburg v. Conagra Brands, Inc.,
    No. 22-cv-2420, 2023 WL 1818561 (N.D. Ill. Feb. 8, 2023) ......................................................... 20, 22

Robinson v. Walgreen Co.,
   No. 20-cv-50288, 2022 WL 204360 (N.D. Ill. Jan. 24, 2022) ......................................................... 5, 12

Sabo v. Wellpet, LLC,
   282 F. Supp. 3d 1040 (N.D. Ill. 2017) ........................................................................................ 9, 10, 11

Sarr v. BEF Foods, Inc.,
    No 18-cv-6409, 2020 WL 729883 (E.D.N.Y. Feb. 13, 2020) .............................................................. 17

Seljak v. Pervine Foods, LLC,
    No. 21-cv-9561, 2023 WL 2354976 (S.D.N.Y. Mar. 3, 2023) ............................................................ 15

Silha v. ACT, Inc.,
    807 F.3d 169 (7th Cir. 2015) .................................................................................................................. 5

Slawsby v. Champion Petfoods USA, Inc.,
    No. 18-10701, 2023 WL 2647065 (D. Mass. Mar. 27, 2023) ................................................................ 9

Smith v. SMS Grp., Inc.,
   No. 22-cv-1303, 2022 WL 15460279 (S.D. Ill. June 2, 2023) ............................................................. 22

Smith-Brown v. Ulta Beauty, Inc.,
   No. 18-cv-610, 2019 WL 932022 (N.D. Ill. Feb. 26, 2019) ................................................................. 20

Sneed v. Ferrero U.S.A., Inc.,
   No. 22-cv-1183, 2023 WL 2019049 (N.D. Ill. Feb. 15, 2023) ............................................................. 12

Spokeo, Inc. v. Robins,
   578 U.S. 330 (2016) ........................................................................................................................... 5, 6




                                                                          v
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 7 of 33 PageID #:79



Steinberg v. Icelandic Provisions, Inc.,
    No. 21-cv-05568, 2022 WL 220641 (N.D. Cal. Jan. 25, 2022) ........................................................... 18

Suero v. NFL,
   No. 22-cv-00031, 2022 WL 17985657 (S.D.N.Y. Dec. 16, 2022) ....................................................... 15

Tamburo v. Dworkin,
   601 F.3d 693 (7th Cir. 2010) ................................................................................................................ 22

Thompson v. Bayer Corp.,
   No. 4:07-cv-00017, 2009 WL 362982 (E.D. Ark. Feb. 12, 2009) ....................................................... 19

True v. Conagra Foods, Inc.,
   No. 07-cv-00770, 2011 WL 176037 (W.D. Mo. Jan. 4, 2011) ............................................................ 19

Valiente v. Publix Super Mkts., Inc.,
    No. 22-cv-22930, 2023 WL 3620538 (S.D. Fla. May 24, 2023) ............................................. 7, 8, 9, 11

Wach v. Prairie Farms Dairy, Inc.,
   No. 21-cv-2191, 2022 WL 1591715 (N.D. Ill. May 19, 2022) ............................................................ 12

Warren v. Coca-Cola Co.,
   No. 22-cv-06907, 2023 WL 3055196 (S.D.N.Y. Apr. 21, 2023) ....................................... 13, 15, 16, 17

Wynn v. Topco Assocs., LLC,
   No. 19-cv11104, 2021 WL 168541 (S.D.N.Y. Jan. 19, 2021) ............................................................. 13

Yu v. Dr Pepper Snapple Grp., Inc.,
    No. 18-cv-06664, 2020 WL 5910071, at *7 (N.D. Cal. Oct. 6, 2020) ................................................. 14

FEDERAL RULES OF CIVIL PROCEDURE

Rule 9(b) ....................................................................................................................................................... 5

Rule 12(b)(1)................................................................................................................................................. 5

Rule 12(b)(2)......................................................................................................................................... 22, 23

Rule 12(b)(6)..................................................................................................................................... 5, 22, 23

Rule 23 .............................................................................................................................................. 6, 18, 19

STATUTES

Illinois Consumer Fraud and Deceptive Business Practices Act, 815 I.L.C.S. 505/1 et seq. ....................... 4

OTHER AUTHORITIES

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   10, 2023)................................................................................................................................................. 2




                                                                               vi
     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 8 of 33 PageID #:80



Buffalo Wild Wings Sued Over Claim that ‘Boneless Wings’ Aren’t Wings, The Onion, available
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    accessed June 10, 2023) ......................................................................................................................... 1




                                                                         vii
   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 9 of 33 PageID #:81



                                       INTRODUCTION

       Plaintiff has a bone to pick with Buffalo Wild Wings, Inc.’s (“BWW”) Boneless Wings.

He filed this putative class action alleging that BWW’s Boneless Wings are not actually deboned

wings reformed into bite-sized finger foods, but instead are all-white meat chicken that are deep-

fried and tossed in consumers’ favorite sauces or rubs.

       The trouble with Plaintiff’s suit, though, is that no one has been deceived. In a tweet, BWW

responded:

       It’s true.
       Our boneless wings are all white meat chicken.
       Our hamburgers contain no ham.
       Our buffalo wings are 0% buffalo.

Buffalo Wild Wings (@BWWings), Twitter (Mar. 13, 2023). But why stop there? Popcorn shrimp

do not have popcorn; hotdogs have 0% dog; pork butt is actually pork shoulder; and Moon Pies

are not handcrafted by the man in the moon. Boneless Wings are no different from any of these

terms that do not—and cannot—fool reasonable consumers. Though these claims have certainly

created media buzz, Plaintiff and his “attorneys neglected to consider whether the claims had any

merit.” In re Subway Footlong Sandwich Mktg. & Sales Practices Litig., 869 F.3d 551, 553 (7th

Cir. 2017). Clearly, they do not.

       The public’s incredulous response to Plaintiff’s allegations was immediate. Covering the

lawsuit, anchors on the Today Show—one of America’s most storied morning shows—did not try

to hide their skepticism that BWW engaged in false and deceptive marketing and advertising,

quipping, “Is this The Onion?” Man Sues Buffalo Wild Wings, Today, available at

https://www.today.com/food/news/buffalo-wild-wings-lawsuit-boneless-wings-rcna74738           (last
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 10 of 33 PageID #:82




accessed June 10, 2023). Speaking of The Onion—the biggest satire news outlet in the world1—it

wrote with tongue firmly in cheek: “Restaurants have been cheating us out of bones for years.”

Buffalo Wild Wings Sued Over Claim that ‘Boneless Wings’ Aren’t Wings, The Onion (Mar. 15,

2023),     available     at    https://www.theonion.com/buffalo-wild-wings-sued-over-claim-that-

boneless-wings-1850225671 (last accessed June 10, 2023).

         There are more problems with Plaintiff’s suit. Reasonable consumers account for “all the

information available to consumers and the context in which that information is provided and

used.” Chiappetta v. Kellogg Sales Co., No. 21-cv-03545, 2022 WL 602505, at *4 (N.D. Ill. Mar.

1, 2022). Had Plaintiff done the same, he would have realized Boneless Wings are actually less

expensive than BWW’s traditional wings and that he therefore lacks any cognizable Article III

injury. And, as discussed below, Plaintiff’s proposed nationwide unjust enrichment class and

claims against Inspire Brands, Inc. (“Inspire”) similarly fail.

         Plaintiff’s allegations fail to state a plausible claim for relief, and the Court should dismiss

the Amended Complaint in its entirety and with prejudice.

                                           BACKGROUND

         Plaintiff alleges that the name and description of BWW’s Boneless Wings on its menu is

false and misleading because the Boneless Wings are made of all-white chicken breast meat. Am.

Compl. (Dkt. 6) (“Am. Compl.”) ¶¶ 1-2, 30. The Boneless Wings are, in fact, made of small cuts

of boneless all-white meat chicken. Nevertheless, Plaintiff asserts that BWW’s menu (the “Menu”)

and the term “Boneless Wings” lead reasonable consumers “to believe that the Products are



1
 The Onion sarcastically boasts the impossible: that it “is the world’s leading news publication, offering
highly acclaimed, universally revered coverage of breaking national, international, and local news events.
Rising from its humble beginnings as a print newspaper in 1756, The Onion now enjoys a daily readership
of 4.3 trillion and has grown into the single most powerful and influential organization in human history.”
About The Onion, The Onion, available at https://www.theonion.com/about (last accessed June 10, 2023).


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   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 11 of 33 PageID #:83




actually boneless wings”—chicken wings that have been deboned and then reformed into bite-

sized shapes. Am. Compl. ¶¶ 30-31.

        But the materials referenced in

Plaintiff’s Amended Complaint amply

demonstrate that there is no risk of

deception here, see Am. Compl. ¶¶ 21-27,

30, BWW has sold Boneless Wings since

2003, and Plaintiff points to no effort to hide

BWW’s practices or pass off Boneless

Wings as “deboned wings.” For good

reason: an article cited in the Amended

Complaint     notes   that   “it   is   nearly

impossible, mechanically, for processors to

debone a real chicken wing[.]”. See

Superbowl Boneless Chicken Wings, The

Counter, attached to Defendants’ Motion for

Judicial Notice (“MJN”) as Exhibit A. The Amended Complaint also cites an article from The

New York Times—now over a decade old—that observed that the sale of “boneless wings, . . .

slices of breast meat deep-fried like wings and serves with the same sauces[,]” was commonplace

across the country since the early 2000s. See “Boneless Wings, the Cheaper Bite,” The New York

Times, attached to the MJN at Exhibit B. And according to countless recipes readily available

online, reasonable consumers recognize that Boneless Wings are not deboned chicken wings, but

instead are made using boneless all-white chicken breast meat. See infra, Argument at Part II.B.




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   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 12 of 33 PageID #:84




        Even giving a cursory glance at the Menu reveals that no deception is afoot. BWW’s Menu

has a large “WINGS” section that offers a variety of winged and unwinged Buffalo-style options:

Traditional (winged); Boneless (not winged); Cauliflower (not winged); and Tenders (not winged).

See Menu, attached to the MJN as Exhibit C. Whether a customer fancies winged, unwinged, or

vegetable, the Menu promises only that these “WINGS” offerings will be prepared Buffalo-style:

“Handspun In Your Favorite Sauces or Dry Seasoning” with customers’ choice of among 19

sauces and 5 dry rubs. Id. The Menu also makes clear that Boneless Wings cost less than

traditional chicken wings—anywhere between 10.8% to 18% less depending upon the quantity

ordered. Am. Compl. ¶¶ 3, 30; see MJN Ex. C. For a product that Plaintiff allegedly believed went

through additional preparation—“deboned” and then reformed into bite-sized pieces—it should

cost more (not less) than traditional wings.

        In short, consumers’ ordinary experiences demonstrate that Plaintiff’s professed belief—

that the Boneless Wings are deboned wings and reformed into processed, bite-sized chunks—is as

unreasonable as it is unappetizing.

                                PROCEDURAL BACKGROUND

        Plaintiff filed suit on March 10, 2023, asserting four claims against BWW and Inspire.

After the Court dismissed the suit for failure to properly plead diversity jurisdiction, Plaintiff filed

the operative Complaint on March 27, 2023, asserting the following causes of action: (1) violation

of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 I.L.C.S. 505/1 et seq.

(“ICFA”); (2) breach of express warranty; (3) common law fraud; and (4) common law unjust

enrichment. See Am. Compl. ¶¶ 59-88. He seeks to certify an Illinois subclass for all of his claims

and a nationwide unjust enrichment class. Id. at ¶¶ 46-58. Plaintiff seeks to recover compensatory,

punitive, and treble damages, restitution and disgorgement, injunctive relief, attorneys’ fees, and

litigation expenses. Id. at Prayer for Relief.


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   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 13 of 33 PageID #:85



                                        LEGAL STANDARD

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). A plaintiff cannot carry this burden with “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements[.]” Id. Instead, a

complaint’s factual allegations “must be enough to raise a right to relief above the speculative

level[.]” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A court also must “draw on its

judicial experience and common sense” to determine whether a claim is plausible. Iqbal, 556 U.S.

at 679. Claims sounding in fraud, including a claim alleging deceptive practices in violation of

ICFA, must also meet the heightened particularity standard under Federal Rule of Civil Procedure

9(b). See Fed. R. Civ. P. 9(b); Benson v. Fannie May Confections Brands, Inc., 944 F.3d 639, 646

(7th Cir. 2019).

        A plaintiff also bears the burden to establish that a court may exercise jurisdiction both

over the case and over each defendant. Under Rule 12(b)(1), Plaintiff bears the burden of

establishing each of the three elements of standing under the same pleading standard as in Twombly

and Iqbal, that a “claim to relief [be] plausible on its face.” Silha v. ACT, Inc., 807 F.3d 169, 173

(7th Cir. 2015); Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Plaintiff bears the same burden

to proffer factual allegations showing that the Court may exercise personal jurisdiction over each

defendant. Brook v. McCormley, 873 F.3d 549, 552 (7th Cir. 2017); Matlin v. Spin Master Corp.,

921 F.3d 701, 705 (7th Cir. 2019).

                       ARGUMENT AND CITATION TO AUTHORITY

        Plaintiff’s claims should be dismissed in their entirety because the Amended Complaint

fails to establish the fundamental components of his claims: (1) Plaintiff cannot identify any

concrete economic harm (or allege that Plaintiff received anything other than his bargain) to


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     Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 14 of 33 PageID #:86




establish Article III standing; (2) BWW’s “Boneless Wings” do not mislead reasonable consumers;

(3) Plaintiff’s nationwide class claim fails for lack of standing and under Rule 23; (4) Plaintiff’s

unjust enrichment claim fails as duplicative of Plaintiff’s other claims; (5) Plaintiff lacks standing

to pursue injunctive relief; and (6) Plaintiff asserts no basis whatsoever for Inspire to remain in

this case.

I.      The Complaint Should Be Dismissed in its Entirety Because Plaintiff Cannot
        Establish Concrete Economic Harm Sufficient to Confer Article III Standing.

        The irreducible constitutional minimum of standing consists of three elements: “[t]he

plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Spokeo, 578 U.S. at 338. “To establish injury in fact, a plaintiff must show that he or she suffered

‘an invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or

imminent, not conjectural or hypothetical.’” Id. at 339 (emphasis added) (quoting Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

        To establish that he suffered a “concrete and particularized” economic injury,2 Plaintiff

must raise plausible allegations that he purchased a product that was actually worth less than what

he paid for it. See, e.g., Geske v. PNY Techs., Inc., 503 F. Supp. 3d 687, 697 (N.D. Ill. 2020);

accord McGee v. S-L Snacks Nat’l, 982 F.3d 700, 706 (9th Cir. 2020); Haggerty v. Bluetriton

Brands, Inc., No. 21-13904, 2022 WL 17733677, at *4 (D.N.J. Dec. 16, 2022). Relying on nothing

more than conclusory rhetoric and threadbare allegations, Plaintiff cannot meet this standard. See

Branham v. TrueAccord Corp., No. 22-cv-00531, 2023 WL 2664010, at *4 (N.D. Ill. Mar. 28,




2
  Plaintiff’s purported injury is purely economic. He alleges that he and putative class members did not
“receive what they are promised” and otherwise paid a price premium for the Boneless Wings. Am. Compl.
¶¶ 4, 44.


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   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 15 of 33 PageID #:87




2023) (“[D]istrict courts in the Seventh Circuit regularly find that vague and conclusory assertions

of financial or monetary harm are insufficient to demonstrate a concrete injury for purposes of

Article III standing.”).

         A.     Plaintiff Fails to Show He Received Anything But the Benefit of His Bargain:
                Boneless Wings that Are Less Expensive than Traditional Wings.

         Plaintiff cannot establish that he suffered a “concrete and particularized” economic injury

for the simple reason that he purchased Boneless Wings that—across the board—are less expensive

than BWW’s traditional wings. See Ex. C. Plaintiff’s benefit of the bargain theory rests on his

subjective expectations that he was purchasing deboned chicken wings, see, e.g., Am. Compl. ¶

13, but Plaintiff cannot reconcile those unilateral assumptions with his actual experience.

Restaurants already “pay extra to buy their wings pre-cut” to separate the flats from the drumettes.

MJN Ex. B. To remove the bones from the wings entirely—which, make no mistake, is a practical

impossibility (see MJN Ex. A)—would require even more preparation and even more costs. If

Plaintiff truly expected deboned wings, he should have expected to pay more than traditional

wings. Instead, he netted somewhere between 10 and 18% in savings by purchasing the Boneless

Wings.

         Plaintiff’s savings have come home to roost, and they compel the dismissal of the Amended

Complaint. First, Plaintiff cannot square his conclusory allegations with the fact that the Boneless

Wings are cheaper than BWW’s traditional wings. See, e.g., Valiente v. Publix Super Mkts., Inc.,

No. 22-cv-22930, 2023 WL 3620538, at *5 (S.D. Fla. May 24, 2023); see also Kim v. Carter’s

Inc., 598 F.3d 362, 364 (7th Cir. 2010). In Valiente, the court rejected similarly thin allegations

that the plaintiff had been deprived of his bargain because the product (honey-lemon cough drops)

lacked an appreciable amount of lemon. The court observed that the plaintiff did not adequately

allege “that cough drops without images of lemons sell for less than those with such images” or



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    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 16 of 33 PageID #:88




“even specifically allege that cough drops containing a non-de minimis amount of lemon have a

higher fair market price.” Valiente, 2023 WL 3620538, at *5. “[G]eneral allegations[,]” observed

the court, fail to establish Article III standing because they do not “concretely tie the value of the

cough drops to any of [the challenged] representations.” Id. (emphasis in original).3

        Here, Plaintiff raises no factual allegations demonstrating he received something less than

what he paid for: a Boneless Wing, made of all-white meat chicken, fried, and then tossed in

Plaintiff’s favorite seasoning or sauce. Like in Valiente and Kim, the Amended Complaint “fails

to concretely tie the value of the [Boneless Wings] to any of the[] purported representation[]” at

issue in this suit. Id.; Kim, 598 F.3d at 365-66.

        Second, Plaintiff cannot recast his unilateral assumptions as though they were included in

the bargain for the Boneless Wings that he purchased. See, e.g., Valiente, 2023 WL 3620538, at

*5; McGee, 982 F.3d at 706 (“A plaintiff, however, must do more than allege that she did not

receive the benefit she thought she was obtaining. The plaintiff must show that she did not receive

a benefit for which she actually bargained.”). The Boneless Wings are less expensive than

traditional wings; the prices are listed right on the menu. See Ex. C. Plaintiff nevertheless assumed

the impossible: that the Boneless Wings were chicken flats and drumettes that underwent

additional preparation to be deboned and re-formed, but then sold at up to an 18% discount from

the bone-in flats and drumettes. As the court in Valiente observed, Plaintiff’s “allegations as to

why he has been deprived of the benefit of his bargain all boil down to his subjective, personal



3
  The same principle holds true in other contexts. In Kim, the Seventh Circuit found that the plaintiffs “got
the benefit of their bargain and suffered no actual pecuniary harm” because: (a) they agreed to pay a certain
price for the defendant’s clothing; (b) failed to plausibly allege the clothing was defective or worth less
than what they paid for it; and (c) failed to allege that they “could have shopped around and obtained a
better price in the marketplace.” 598 F.3d at 365-66. Another court rejected benefit of the bargain
allegations with the blunt analysis: “Plaintiffs paid for burritos; Plaintiffs received burritos.” Gordon v.
Chipotle Mexican Grill, Inc., 344 F. Supp. 3d 1231, 1249 (D. Colo. 2018).


                                                     8
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 17 of 33 PageID #:89




expectations of what the [Boneless Wings] purported to [be]. This is not enough to plausibly allege

a concrete economic injury. . .” Valiente, 2023 WL 3620538, at *5; see also McGee, 982 F.3d at

706 (the plaintiff’s assumptions were “not part of the bargain to begin with”); In re Johnson &

Johnson Talcum Powder Prods. Mktg., Sales Practices & Liab. Litig., 903 F.3d 278, 281 (3d Cir.

2018) (“[B]uyer’s remorse, without more, is not a cognizable injury under Article III of the United

States Constitution.”).

       In short, Plaintiff paid for Boneless Wings. He received Boneless Wings. He does not and

cannot establish that he has suffered any concrete injury sufficient to confer Article III standing.

       B.      Plaintiff’s Threadbare Allegations of a Price Premium Cannot Confer
               Standing.

       Plaintiff’s threadbare allegations similarly fail to establish that he paid a premium for the

Boneless Wings. It is settled that a plaintiff must provide objective factual allegations supporting

a claimed price premium. See, e.g., Valiente, 2023 WL 3620538, at *5; accord Sabo v. Wellpet,

LLC, 282 F. Supp. 3d 1040, 1041-42 (N.D. Ill. 2017); Slawsby v. Champion Petfoods USA, Inc.,

No. 18-10701, 2023 WL 2647065, at *3 (D. Mass. Mar. 27, 2023). Conclusory rhetoric, such as

reciting the word “premium,” “does not make Plaintiff’s injury any more cognizable.” Izquierdo

v. Mondelez Int’l, Inc., No. 16-cv-04697, 2016 WL 6459832, at *7 (S.D.N.Y. Oct. 26, 2016); see

also Haggerty, 2022 WL 17733677, at *4 (“A plaintiff must do more than offer conclusory

assertions of economic injury in order to establish standing.”).

       For instance, the court in Haggerty dismissed the case because the plaintiff failed to

establish she suffered a concrete economic harm in purchasing the defendant’s “100% Recyclable”

bottled water products. It observed that the plaintiff failed “to put forth any facts regarding

comparable or cheaper products to show [the p]laintiff paid a premium price.” Haggerty, 2022 WL

17733677, at *10. Without additional facts, threadbare allegations—like “had a plaintiff known



                                                  9
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 18 of 33 PageID #:90




about an alleged deficiency in a product, [she] would not have paid that price for said product”—

were insufficient to find an injury-in-fact. Id. at *9.

        The Northern District of Illinois has applied the same principles to reject similarly

threadbare price premium claims:

        Still conspicuously absent from the complaint are any straightforward assertions
        about the price of defendants’ products; the price of comparable products not
        labeled ‘Made in USA’ (if, indeed such products exist, for the SAC does not allege
        that they do); or any other measurable criteria for comparing the position plaintiff
        and the class would have been in absent the alleged fraud with the position they
        were in as a result of their reliance on defendant’s ‘Made in USA’ representation.

Sabo, 282 F. Supp. 3d at 1041-42; Camasta v. Ohio Steaks Int’l, Inc., No. 12-cv-08285, 2013 WL

4495661, at *11 (N.D. Ill. Aug. 21, 2013) (“Aside from being speculative, these allegations do not

suggest that [the plaintiff] was denied the benefit of the bargain for there is no suggestion that [the

plaintiff] paid more than the actual value of the steaks.”); Camasta v. Jos. A. Bank, Clothiers, Inc.,

2013 WL 474509, at *5 (N.D. Ill. Feb. 7, 2013) (concluding that a “conclusory allegation,

supported by no facts, does not support a plausible, not merely speculative, claim that [a plaintiff]

paid more than the [product’s] value, rather than merely paying closer to the retail value than he

believed”). Still other courts agree that—at a minimum—objective, factual allegations are

necessary for a plausible price premium.4

        Here, Plaintiff only asserts “threadbare allegations that, had a plaintiff known about an

alleged deficiency in a product, [he] would not have paid that price for said product, without more,



4
  See, e.g., Colella v. Atkins Nutritionals, Inc., 348 F. Supp. 3d 120, 143 (E.D.N.Y. 2018) (“A well pleaded
allegation that a plaintiff paid a premium may be sufficient to allege injury, however, plaintiff only
conclusorily asserts that [the defendant] charges a premium for its products and provides no facts regarding
what the premium was, what price he paid for the products, or the price of non-premium products.”);
Izquierdo, 2016 WL 6459832 at *7 (holding that merely alleging Sour Patch Watermelon candy is “more
expensive per ounce than other sweets on the market brings [plaintiffs] no closer to stating a claim for
injury” because “[c]omparing the Candy to Hot Tamales and Junior Mints is the saccharine equivalent of
comparing apples with oranges.”).


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      Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 19 of 33 PageID #:91




[which are] insufficient to find an injury-in-fact.” Haggerty, 2022 WL 17733677, at *4. Indeed,

the Amended Complaint simply pecks at a circular allegation that Plaintiff paid a price premium

because there is a price premium:

         -      “Thus, through the use of misleading representations, Defendants command a price
                that Plaintiff and the Classes would not have paid had they been fully informed.”
                Am. Compl. ¶ 44.

         -      “Plaintiff and members of the Illinois Class paid a premium price for the Products
                but did not obtain the full value of the Products as represented. If Plaintiff and
                members of the Illinois Class had known of the true nature of the Products, they
                would not have been willing to pay the premium price associated with the
                Products.” Id. ¶ 72.

These allegations—directly contradicted by the Menu showing that Boneless Wings are sold

at a discount, rather than a premium, to traditional wings—are exactly the sort of conclusory

rhetoric that courts in the Seventh Circuit and across the country have found fail to establish a

concrete injury. See, e.g., Sabo, 282 F. Supp. 3d at 1041-42; Haggerty, 2022 WL 17733677, at *4;

Valiente, 2023 WL 3620538, at *5 (“[Plaintiff] does not allege any facts by which one might

measure the difference between the ‘premium price’ he claims to have paid and the [products’]

fair market price.”).

         Put bluntly, Plaintiff’s factual allegations are fully consistent with the conclusion that

Plaintiff got what he purchased: boneless all-white chicken meat that is fried and handspun in

Plaintiff’s sauce or seasoning of choice. Consequently, Plaintiff does not—and cannot—establish

that he has an injury in fact for Article III standing.

II.      The Complaint Should Be Dismissed in its Entirety Because Plaintiff Does Not—And
         Cannot—Plausibly Claim that “Boneless Wings” Misleads Reasonable Consumers.

         Even if Plaintiff could establish Article III standing, the Court still should dismiss the

Complaint in its entirety because the phrase “Boneless Wings” does not mislead reasonable

consumers. All of Plaintiff’s claims are premised on the notion that he was misled into believing



                                                   11
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 20 of 33 PageID #:92




he was purchasing deboned chicken flats and drumettes. As Plaintiff apparently agrees, his claims

are governed by the “reasonable consumer” standard but he comes nowhere close to satisfying it.5

See, e.g., Am. Compl. at ¶¶ 5, 6 (alleging the purported beliefs and expectations of “reasonable

consumers”).

       A.      The Reasonable Consumer Standard

       To survive a motion to dismiss, Plaintiff must identify a particular statement or omission

that is likely “likely to deceive reasonable consumers.” Beardsall v. CVS Pharm., Inc., 953 F.3d

969, 972-73 (7th Cir. 2020); Benson v. Fannie May Confections Brands, Inc., 944 F.3d 639, 646

(7th Cir. 2019). To do so, Plaintiff must demonstrate “a probability that a significant portion of the

general consuming public . . . acting reasonably in the circumstances, could be misled.” Chiappetta

2022 WL 602505, at *3 (quoting Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016)). “Courts

considering ‘deceptive advertising claims should take into account all the information available to

consumers and the context in which that information is provided and used.’” Id. at *4 (quoting

Bell v. Publix Super Mkts., Inc., 982 F.3d 468, 477 (7th Cir. 2020)). Moreover, an ordinary

consumer’s “day-to-day marketplace expectations” are highly relevant to the reasonable consumer

analysis. Wach v. Prairie Farms Dairy, Inc., No. 21-cv-2191, 2022 WL 1591715, at *5 (N.D. Ill.

May 19, 2022) (quoting Wynn v. Topco Assocs., LLC, No. 19-cv11104, 2021 WL 168541

(S.D.N.Y. Jan. 19, 2021)).




5
  See, e.g., Robinson v. Walgreen Co., No. 20-cv-50288, 2022 WL 204360, at *6 (N.D. Ill. Jan. 24, 2022)
(ICFA); Reinitz v. Kellogg Sales Co., No. 21-cv-01239, 2022 WL 181391 at *6 (C.D. Ill. June 2, 2022)
(fraud and express warranty); Brodksy v. Aldi Inc., No. 20-cv-07632, 2021 WL 4439304, at *5 (N.D. Ill.
Sept. 28, 2021) (express warranty); Sneed v. Ferrero U.S.A., Inc., No. 22-cv-1183, 2023 WL 2019049, at
*6 (N.D. Ill. Feb. 15, 2023) (unjust enrichment).


                                                  12
   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 21 of 33 PageID #:93




       B.      Reasonable Consumers Are Not Misled by BWW’s “Boneless Wings”.

       As courts across the country have held, a dismissal on the pleadings is well justified where

(as here) a plaintiff’s deceptive advertising claim is based on unreasonable or fanciful

interpretations of the advertisement or where the information available to consumers dispels any

such implausible understanding. Chiappetta, 2022 WL 602505, at *3; see also, e.g., Moore v.

Trader Joe’s Co., 4 F.4th 874, 883 (9th Cir. 2021); Ebner, 838 F.3d at 962; Warren v. Coca-Cola

Co., No. 22-cv-06907, 2023 WL 3055196, at *4-7 (S.D.N.Y. Apr. 21, 2023).

       As the courts Moore, Warren, Ebner, Daniel, and others have found, the ordinary

experience of and the information readily available to reasonable consumers make clear that

Plaintiff’s allegations are (at best) fanciful and implausible. First, much like how “consumers

know that Diet Dr Pepper is a different product from Dr Pepper” and does not guarantee weight

loss, Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225, 1229 (9th Cir. 2019), that pasta is not

truly “natural” because “Buitoni Pastas are not springing fully formed from Ravioli trees and

Tortellini bushes,” Pelayo v. Nestlé USA, Inc., 989 F. Supp. 2d 973, 978 (C.D. Cal. 2013), or of

even “the general mechanics of these dispenser tubes and further understands that some product

may be left in the tube[,]” Ebner, 838 F.3d at 965, consumers also know in their ordinary

experience that boneless wings are not made from deboned wings. A cursory review of any number

of online recipes for “boneless wings” call for boneless chicken breast—not “deboned chicken

wings”—and show that Plaintiff’s interpretation is “not consistent with how the public understands

and react to product advertising.” Reinitz v. Kellogg Sales Co., No. 21-cv-1239, 2022 WL

1813891, at *3 (C.D. Ill. June 2, 2022) (citing recipes to demonstrate that the plaintiff’s

interpretation is unreasonable); Chen v. Dunkin’ Brands, Inc., 954 F.3d 492, 501 (2d Cir. 2020)

(citing dictionary definitions to reject as implausible the plaintiff’s claim that the term “steak” was

deceptive and affirming dismissal). A selection of these recipes are collected as Exhibit D to the


                                                  13
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 22 of 33 PageID #:94




MJN. Even the sources cited in the Amended Complaint accept as settled that boneless wings are

made with all white chicken meat, not deboned chicken wings. See Am. Compl. ¶¶ 21-27; MJN

Exs. A, B; see also Axon v. Citrus World, Inc., No. 18-cv-04162, 2019 WL 8223527, at *2

(E.D.N.Y. Jan. 14, 2019) (rejecting “[t]he conclusions plaintiff draws from” materials cited and

attached to the complaint but they do not support the plaintiff’s conclusions); Yu v. Dr Pepper

Snapple Grp., Inc., No. 18-cv-06664, 2020 WL 5910071, at *7 (N.D. Cal. Oct. 6, 2020)

(concluding that the plaintiff failed assert a plausible claim when the study the plaintiff relied on

was only “tangentially related to Plaintiff’s claims”).6 Indeed, the court need not look any further

than mainstream news outlets and one of the most prominent satire news websites to conclude that

consumers’ common understanding does not align with Plaintiff’s professed beliefs. See supra, at

1; Chiappetta, 2022 WL 602505, at *4 (“What matters most is how real consumers understand and

react to the advertising.”).

        Second, Plaintiff cannot accuse BWW of a purported lack of “transparen[cy]” when it has

sold Boneless Wings to the public for over two decades. Courts have rejected similar claims that

reasonable consumers are deceived because the so-called deceptive practice “has been widely

publicized[.]” Jackson v. Anheuser-Busch InBev SA/NV, LLC, No. 20-cv-23392, 2021 WL

3666312, at *10 (S.D. Fla. Aug. 18, 2021) (dismissing consumer claim that the defendant

misrepresented that it was only a “locally owned craft brewery, rather than by a subsidiary of the

world’s largest brewer” because its corporate ownership “has been widely publicized since the


6
  Plaintiff relies on a handful of news clippings, a commodities analyst, and a viral video of a Nebraska-
based city council, but these one-off anecdotes only paint Plaintiff as an outlier. They do not—and cannot—
make it plausible “that a significant portion of the general consuming public . . . acting reasonably in the
circumstances, could be misled.” Chiappetta 2022 WL 602505, at *3; see, e.g., Reinitz, 2022 WL 1813891,
at *3 (“Whether or not experts agree, Plaintiff fails to support that the average consumer would believe a
fudge product must, of necessity, contain milkfat.”); see also Becerra 945 F.3d at 1230 (“Just because some
consumers may unreasonably interpret the term differently does not render the use of ‘diet’ in a soda’s
brand name false or deceptive.”) (citing Ebner, 838 F.3d at 966).


                                                    14
   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 23 of 33 PageID #:95




brewery’s inception”); Parent v. MillerCoors LLC, No. 3:15-cv-1204, 2015 WL 6455752, at *8

(S.D. Cal. Oct. 26, 2015) (concluding that no reasonable consumer could be misled into believing

that Blue Moon was an “independently brewed, hand-crafted beer” when MillerCoors’s ownership

was publicly disclosed online, including on MillerCoors’s website); Suero v. NFL, No. 22-cv-31,

2022 WL 17985657, at *13 (S.D.N.Y. Dec. 16, 2022) (rejecting false advertising claims

challenging defendant’s representations about access to a football stadium, “particularly given that

route information, including actual travel time, is publicly available”). Here, Plaintiff cites a 14-

year-old New York Times article about the proliferation of “boneless wings” made from “slices of

breast meat deep-fried like wings and serves with the same sauces” since the 2000s. Am. Compl.

¶ 26 n. 3; MJN Ex. B. In fact, the Amended Complaint concedes, BWW has sold Boneless Wings

since at least 2003. Am. Compl. ¶ 21. Plaintiff cannot now complain that he was tricked simply

because he chose to ignore two decades of culinary history.

       Third, Plaintiff cannot claim that he was deceived by the Boneless Wings while ignoring

the very information that would dispel any unreasonable understanding. Chiappetta, 2022 WL

602505, *4 (observing that considering “deceptive advertising claims should take into account all

the information available to consumers and the context in which that information is provided and

used.”); accord Warren, 2023 WL 3055196, at *4 (“The allegedly deceptive act must be looked

upon in light of the totality of the information made available to the plaintiff and the context of the

packaging as a whole must be considered in evaluating whether deception has occurred.” (quoting

Seljak v. Pervine Foods, LLC, No. 21-cv-9561, 2023 WL 2354976, at *13 (S.D.N.Y. Mar. 3,

2023))). Specifically, courts have routinely rejected deception claims because the price of the

challenged product should have put the plaintiff on notice. See, e.g., Warren, 2023 WL 3055196,

at *4 (observing that the “context provided by the term ‘Hard Seltzer’ is critical and fatal to




                                                  15
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 24 of 33 PageID #:96




Plaintiff’s claim,” including the $1.50 price for a product because “surely [the plaintiff] knew that

nobody sells a margarita for $1.50”); Moore, 4 F.4th at 884 (rejecting the plaintiff’s interpretation

that “100% New Zealand Manuka Honey” meant the honey was derived from bees foraging

exclusively on manuka plants in part because of the low cost of defendant Trader Joe’s product,

which was notably less expensive than “purer” manuka honey offerings); Chen v. Dunkin’ Brands,

Inc., 954 F.3d 492, 501 (2d Cir. 2020) (“Chen bought her Angus Sandwich for less than $4 and

her Angus Wrap for less than $2. As the television advertisements themselves demonstrate, the

Products are marketed as grab-and-go products that can be consumed in hand, without the need

for a fork and knife. A reasonable consumer purchasing one of the Products from Dunkin Donuts

in that context would not be misled into thinking she was purchasing an ‘unadulterated piece of

meat.’”); Jessani v. Monini N.A., Inc., 744 F. App’x 18, 19 (2d Cir. 2018) (noting that no

reasonable consumer would believe a bottle of truffle flavored olive oil contained real truffles,

“the most expensive food in the world,” in part because of its inexpensive price).

        Here, BWW’s menu pricing alone is sufficient to dispel any illogical assumption about the

Boneless Wings because they cost anywhere between 10% and 18% less than traditional wings.

See MJN Ex. C. Under Plaintiff’s imagined reality, deboned chicken flats and drumettes would

cost more than traditional wings because they would require further preparation, time, and cost

than traditional wings. Plaintiff defies logic by asserting that reasonable consumers would believe

that the Boneless Wings are traditional wings that have gone through additional processing to

remove the bone, yet cost less than traditional wings.7


7
 What’s more, the Amended Complaint asks that the Court suspend disbelief and ignore that “it is nearly
impossible, mechanically, for processors to debone a real chicken wing.” See MJN Ex. A. Given the sheer
implausibility of Plaintiff’s interpretation of the Products, a consumer of any level of sophistication could
not reasonably interpret BWW’s menu as Plaintiff claims. See Moore, 4 F. 4th at 883-84; In re Subway
Footlong, 869 F.3d at 556-57 (dismissing proposed settlement because “consumers know . . . [that ‘Subway



                                                     16
   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 25 of 33 PageID #:97




        The context does not end there. The layout and other product names displayed in the

“WINGS” section of the Menu also prevent any reasonable consumer from believing that Boneless

Wings are composed of deboned chicken wings. Also included in the “WINGS” section are other

products that no reasonable consumer would reasonably believe consist of chicken wing meat:

cauliflower wings and chicken tenders. It would defy reason for a consumer to believe that a

“cauliflower wing” is somehow made from the non-existent “wing” piece of a cauliflower. See,

e.g., Sarr v. BEF Foods, Inc., No 18-cv-6409, 2020 WL 729883, at *5 (E.D.N.Y. Feb. 13, 2020)

(rejecting challenge to “farm-fresh goodness” claim because common sense dictated that a mashed

potatoes product “obviously requires some amount of processing between the cultivation of its

ingredients on a farm and its arrival on the dinner table”); Moore, 4 F. 4th at 882-83 (“other

available information about Trader Joe’s Manuka Honey would quickly dissuade a reasonable

consumer from the belief that [it] was derived from 100% Manuka flower nectar,” regardless of

any message conveyed by the product); Warren, 2023 WL 3055196, at *5 (“[C]ursory observation

of the other items on sale in the beverage section of the ShopRite supermarket where she purchased

the Product would have revealed soft drinks, beer, and hard ciders/lemonades/seltzers, but no hard

liquor, cocktails, or wine. . . [G]iven those circumstances, it is simply not plausible that Plaintiff

thought she was buying a product containing tequila.”). So too here. Reasonable consumers would

realize that, given the layout of the Menu, accompanying product names, and comparative price to

traditional wings, Boneless Wings are exactly what reasonable consumers expect them to be:

pieces of boneless, all-white chicken that are deep fried and “handspun in your favorite sauce or

dry seasoning[.]” MJN Ex. C.




will never be able to guarantee that each loaf of bread will always be exactly 12 inches or greater in length
after baking’] as a matter of common sense”); Pelayo, 989 F. Supp. 2d at 978.


                                                     17
   Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 26 of 33 PageID #:98




       In short, “[w]hat matters most is how real consumers understand and react to the

advertising.” Chiappetta, 2022 WL 602505, at *4. Reasonable consumers would only believe that

the term Boneless Wings refers to the style in which it is made, not that they are made with deboned

chicken flats and drumettes. Dumas v. Diageo PLC, No. 15-cv-1681, 2016 WL 1367511, at *4-6

(S.D. Cal. Apr. 6, 2016); Steinberg v. Icelandic Provisions, Inc., No. 21-cv-05568, 2022 WL

220641, at *6 (N.D. Cal. Jan. 25, 2022) (“[T]he word ‘traditional Icelandic’ on the package, [is] a

term akin in function to ‘Jamaican style’ in Dumas.”). Consumers’ common understanding of the

Product is precisely in line with what BWW delivers, and Plaintiff’s allegation to the contrary

should be dismissed as fanciful and implausible.

III.   Plaintiff’s Claims Fail for Multiple, Independent Reasons

       Although the previously discussed defects merit dismissing the Amended Complaint in

full, the bulk of Plaintiff’s claims and requested relief independently fail for additional reasons.

       A.      Plaintiff’s Nationwide Unjust Enrichment Class Should Be Dismissed on
               Article III Standing and Rule 23 Grounds

       As multiple decisions in this District already have held, Plaintiff’s nationwide unjust

enrichment class—much like Boneless Wings—cannot even get off the ground.

       First, Plaintiff lacks standing to bring claims under the laws of states where he did not

purchase the Boneless Wings—i.e., every state other than Illinois. See Am. Compl. ¶ 13 (alleging

that Plaintiff resides in and purchased the Boneless Wings in Illinois). To be sure, “[t]he Article

III standing inquiry remains the same even if the case is proceeding as a class action.” In re Dairy

Farmers of Am., Inc. Cheese Antitrust Litig., No. 09-cv-3690, 2013 WL 4506000, at *8 (N.D. Ill.

Aug. 23, 2013). “Courts in this District routinely dismiss or strike class claims where named

plaintiffs seek to represent proposed class members from other states.” Brown v. Auto-Owners Ins.

Co., No. 21-cv-02597, 2022 WL 2442548, at *2 (N.D. Ill. June 1, 2022). Thus, because Plaintiff



                                                 18
    Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 27 of 33 PageID #:99




attempts to assert class claims under the laws of the states in which he did not purchase the

Boneless Wings—states in which he did not suffer any injury-in-fact—those claims should be

dismissed. In re Dairy Farmers, 2013 WL 4506000, at *6-8 (collecting cases).

        Second, Plaintiff’s proposed nationwide unjust enrichment class fares no better under Rule

23 because the multiple, material conflicts among the 50 states’ unjust enrichment laws would

render the class unmanageable and subject litigants to different (and conflicting) legal rules. See,

e.g., Cowen v. Lenny & Larry’s, Inc., No. 17-cv-1530, 2017 WL 4572201, at *4-5 (N.D. Ill. Oct.

12, 2017) (rejecting nationwide class for unjust enrichment claim). Indeed, the Northern District

of Illinois has routinely found that nationwide unjust enrichment classes are improper because of

the “material conflicts among the fifty states’ laws with respect to unjust enrichment claims.” See

Harris v. Rust-Oleum Corp., No. 21-cv-01376, 2022 WL 952743, at *5 (N.D. Ill. Mar. 30, 2022)

(collecting cases); see Fullerton v. Corelle Brands, LLC, No. 18-cv-4152, 2019 WL 4750039, at

*14 (N.D. Ill. Sep. 30, 2019) (“As multiple courts in the Seventh Circuit have commented, district

courts remain reluctant to manage nationwide classes for these types of claims [like unjust

enrichment].”).8

        Finally, as many courts in this District have determined, the Court should conclude that

Plaintiff’s nationwide unjust enrichment class fails at the motion to dismiss stage. For starters,

“there is plainly ample reason at this juncture to question whether [Plaintiff] will be able to pursue


8
  These conflicts span a range of substantive issues, including: (a) the lack of a single, controlling definition
of unjust enrichment and its substantive elements, True v. Conagra Foods, Inc., No. 07-cv-00770, 2011
WL 176037, at *9 (W.D. Mo. Jan. 4, 2011); (b) the applicable limitations period and when it begins, Rapp
v. Green Tree Servicing, LLC, 302 F.R.D. 505, 519 (D. Minn. 2014); (c) the degree of misconduct necessary
to state an unjust enrichment claim, Thompson v. Bayer Corp., No. 4:07-cv-00017, 2009 WL 362982, at *4
(E.D. Ark. Feb. 12, 2009); and (d) additional injury requirements, Khoday v. Symantec Corp., 93 F. Supp.
3d 1067, 1088-89 (D. Minn. 2015), as amended (Apr. 15, 2015). Putting it simply, “unjust enrichment is a
tricky type of claim that can have varying interpretations even by courts within the same state, let alone
amongst the fifty states.” In re Sears, Roebuck & Co. Tools Mktg. & Sales Practices Litig., No. 05-cv-2623,
2006 WL 3754823, at *1 n.3 (N.D. Ill. Dec. 18, 2006).


                                                       19
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 28 of 33 PageID #:100




claims based on statutory causes of action created by states where [Plaintiffs] neither lived nor

[were] injured.” Smith-Brown v. Ulta Beauty, Inc., No. 18-cv-610, 2019 WL 932022, at *5 (N.D.

Ill. Feb. 26, 2019); Richburg v. Conagra Brands, Inc., No. 22-cv-2420, 2023 WL 1818561, at *6

(N.D. Ill. Feb. 8, 2023) (“The court agrees with defendant that plaintiffs have not established

standing for the nationwide classes because they have not alleged an injury in fact in those

jurisdictions.”); In re Dairy Farmers, 2013 WL 4506000, at *7 (“An Article III standing inquiry

‘focuses on whether the plaintiff is the proper party to bring this suit.’”). Similarly, the Court

should also conclude that Plaintiff cannot pursue a nationwide unjust enrichment class “at the

pleading stage because the difficulty in Plaintiff[’s] claims stem from the variance in the

substantive law, which discovery cannot cure.” Fullerton, 2019 WL 4750039, at *14; accord

Harris, 2022 WL 952743, at *5 (“In fact, several courts in this District have found class treatment

of unjust enrichment claims unsupportable at the pleading stage.”); Muir v. Nature’s Bounty, Inc.,

No. 15-cv-9835, 2017 WL 4310650, at *8-9 (N.D. Ill. Sep. 28, 2017).

       Plaintiff’s nationwide unjust enrichment class, thus, should be dismissed.

       B.      Plaintiff’s Unjust Enrichment Claim Should Be Dismissed as Duplicative of
               Plaintiff’s Other Claims

       What’s more, Plaintiff’s claim for unjust enrichment fails on the merits. First, Plaintiff’s

claim should be dismissed because it rests on the same deficient allegations as his other claims.

See Bober v. Glaxo Wellcome PLC, 246 F.3d 934 (7th Cir. 2001) (“in the absence of any deception

. . . the requisite violation of ‘fundamental principles of justice, equity, and good conscience’

[necessary for unjust enrichment] is not present”); Ass’n Benefit Servs. v. Caremark Rx, Inc., 493

F.3d 841, 855 (7th Cir. 2007). Second, an unjust enrichment claim is not an independent cause of

action under Illinois law and cannot serve as a catchall when other claims fail. See Horist v. Sudler

& Co., 941 F.3d 274, 281 (7th Cir. 2019) (“Unjust enrichment is not a separate cause of action



                                                 20
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 29 of 33 PageID #:101




under Illinois law.”); Ibarrola v. Kind, LLC, 83 F. Supp. 3d 751, 761 (N.D. Ill. 2015) (“Unjust

enrichment is not a separate cause of action that, standing alone, will justify an action for

recovery.”). In this case, there is no meaningful distinction between Plaintiff’s unjust enrichment

claim and the other claims he raises. Therefore, no plausible basis exists for this claim to survive.

       C.      Plaintiff Lacks Standing to Pursue Injunctive Relief Because There Is No Risk
               He Will Again Be “Deceived”

       Plaintiff lacks Article III standing to pursue injunctive relief because he does not face any

risk of future harm. It is settled in the Seventh Circuit that “[p]ast exposure to illegal conduct does

not in itself show a present case or controversy regarding injunctive relief.” Camasta v. Jos. A.

Bank Clothiers, Inc., 761 F.3d 732, 740-41 (7th Cir. 2014). Similarly, a plaintiff cannot establish

he has Article III standing where, as here, he “is now aware of [the challenged] sales practices”

and thus “is not likely to be harmed by the practices in the future.” Id. at 741.

       Plaintiff’s prayer for injunctive relief fails as a matter of law. In his Amended Complaint,

Plaintiff concedes that he knows that the Boneless Wings contain all-white meat chicken. See, e.g.,

Am. Compl. ¶ 3. Thus, regardless of whether Plaintiff previously held a sincere—yet irrational—

misunderstanding about the Boneless Wings, that confusion now has been disabused by his

admitted actual knowledge. See, e.g., Conrad v. Boiron, Inc., 869 F.3d 536, 542 (7th Cir. 2017)

(Now “fully aware of the fact that [the product] is nothing but sugar water,” plaintiff lacked

standing to seek injunctive relief); accord Camasta, 761 F.3d at 741; Cristia v. Trader Joe’s Co.,

No. 22-cv-1788, 2022 WL 17551552, at *2 (N.D. Ill. Dec. 9, 2022). Moreover, Plaintiff’s claims

about his professed “desire to purchase the Products in the future” and metaphysical “doubt” about

the future are failed allegations that myriad courts have rejected as insufficient to establish

standing. See, e.g., Floyd v. Pepperidge Farm, Inc., 581 F. Supp. 3d 1101, 1112-13 (S.D. Ill. 2022)

(rejecting allegations that the plaintiff “intends to, seeks to, and will purchase the [products] again



                                                  21
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 30 of 33 PageID #:102




when she can do so with the assurance its representations are consistent with its composition”);

Richburg, 2023 WL 1818561, at *5 (dismissing prayer for injunctive relief because the plaintiffs

“indicate only that they would purchase the products again if defendant ‘[took] corrective action.’

This allegation presupposes injunctive relief, rather than compelling it.”).

        The Court should, therefore, dismiss Plaintiff’s prayer for injunctive relief.

        D.      Inspire Should Be Dismissed under Rules 12(b)(2) and 12(b)(6) Because the
                Complaint Contains No Factual Allegations About It

        The deficiencies in Plaintiff’s Complaint do not stop there. Indeed, apart from a passing

reference to Inspire’s state of incorporation (Delaware) and principal place of business (Atlanta,

Georgia), the Amended Complaint does not even try to allege facts about Inspire. The paucity of

allegations against Inspire do not—and cannot—provide a plausible basis for why Inspire should

remain in this case.

        First, Plaintiff’s barebones allegations cannot satisfy his burden to assert a prima facie case

for exercising personal jurisdiction over Inspire. See Smith v. SMS Grp., Inc., No. 22-cv-1303,

2022 WL 15460279, at *4 (S.D. Ill. Oct. 27, 2022); Tamburo v. Dworkin, 601 F.3d 693, 701 (7th

Cir. 2010). The Amended Complaint simply lumps Inspire in with BWW under the label

“Defendants,” see generally Am. Compl., but “[c]onclusory and unsupported allegations of the

involvement of all defendants” are not the sort of “well-pleaded facts that are taken as true in a

dispute over jurisdiction.” Curry v. Revolution Labs., LLC, No. 17-cv-2283, 2020 WL 1548504,

at *1 (N.D. Ill. Apr. 1, 2020). Indeed, Plaintiff’ allegations do not demonstrate that “Inspire Brands

directed its actions at Illinois, that [Plaintiff’s] alleged injuries arise out of those actions, or that

Inspire Brands exercises” any sort of control over BWW. Bakhtiari v. Doe, No. 22-cv-2406, 2022

WL 17593027, at *7 (N.D. Ill. Dec. 13, 2022) (dismissing Inspire for lack of personal jurisdiction).




                                                   22
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 31 of 33 PageID #:103




Just last year, this Court dismissed Inspire on personal jurisdiction grounds for a similarly

uninspired effort. See id. It should do so again here and dismiss Inspire under Rule 12(b)(2).

       Second, there are no factual allegations linking Inspire to the challenged conduct in this

case, the Boneless Wings, or to Plaintiff’s idiosyncratic beliefs or experience. See Kunz v.

Liebovich Bros., No. 15-cv-50279, 2016 WL 3093045, at *3 (N.D. Ill. May 31, 2016) (dismissing

all claims against co-defendant where the complaint failed to include any factual allegations

concern that defendant’s conduct); see also Davis v. Bank of Am. Corp., No. 16-cv-5993, 2017

WL 569159, at *1 (N.D. Ill. Feb. 13, 2017) (dismissing complaint that lumped the defendants

together and failed to specify each individual defendant’s conduct, observing that “[l]iability is

personal . . . [and that e]ach defendant is entitled to know what he or she did that is asserted to be

wrongful”) (quoting Bank of Am., N.A. v. Knight, 725 F.3d 815, 818 (7th Cir. 2013)). Because of

Plaintiff’s abject failure to raise any factual allegations about Inspire, his claims against Inspire

also should be dismissed under Rule 12(b)(6) for failure to state a claim.

                                          CONCLUSION

       Defendants respectfully request that the Court dismiss Plaintiff’s claims in their entirety

with prejudice.




                                                 23
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 32 of 33 PageID #:104




Dated: June 27, 2023                  Respectfully submitted,


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                                        24
  Case: 1:23-cv-01495 Document #: 20-1 Filed: 06/27/23 Page 33 of 33 PageID #:105




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was filed on

June 27, 2023, with the Court and served electronically through the CM/ECF system to all counsel

of record registered to receive a Notice of Electronic Filing for this case.



                                                       /s/ Jason D. Rosenberg
                                                       Jason D. Rosenberg
